                                                                              U.S. BANKRUPTCY COURT
                                                                                DISTRICT OF OREGON
                                                                                    FILED
                                                                                   July 26, 2021

                                                                             Clerk, U.S. Bankruptcy Court

Below is an order of the Court.



                                                                             U.S. Bankruptcy Judge


OADS (11/17/20)                 UNITED STATES BANKRUPTCY COURT
                                         District of Oregon

In re                                           )   Case No. 19-31883-dwh11 (Lead Case)
 15005 NW Cornell LLC                           )   Case No. 19-31886-dwh11 (Member Case)
 Vahan M. Dinihanian Jr.                        )
                                                )   ORDER APPROVING DISCLOSURE STATEMENT
                                                )   AND FIXING TIME FOR FILING ACCEPTANCES OR
Debtor(s)                                       )   REJECTIONS OF PLAN; AND NOTICE OF
                                                )   CONFIRMATION HEARING

The Court finds after hearing on notice that the final form of disclosure statement required by Chapter 11 of
the Bankruptcy Code as filed by Douglas Pahl and Nicholas Henderson, and dated 7/22/2021, contains
adequate information. The debtor's address for both the lead and member case is 237 NW Skyline Blvd,
Portland, OR 97210−1053. The the debtor's Taxpayer ID# for the lead case is 84−1965523, and the last
four digits of the debtor's Social Security Number for the member case are 0871.

IT IS ORDERED AND NOTICE IS GIVEN that:

1.    The disclosure statement referenced above is approved.

2.    Written ballots accepting or rejecting the plan or amended plan dated 7/22/2021 must be received by
      the proponent of the plan Douglas Pahl, whose service address is 1120 NW Couch St 10th Fl
      Portland, OR 97209−4128, no less than 7 days before the hearing date set in paragraph 4.
3.    Objections to the proposed plan must be in writing, setting forth the specific grounds and details of
      objection, and must be filed in the lead case with the Clerk of Court, 1050 SW 6th Ave. #700,
      Portland, OR 97204, no later than 7 days before the hearing date set in paragraph 4. Any
      objection must be served on the plan's proponent; debtor(s); the U.S. Trustee; any trustee; and
      creditor committee chairperson; and each attorney for any of those parties.

4.    The hearing on confirmation of the plan, at which testimony will not be received, will be held on
      9/07/2021 at 1:30 PM by by Video Hearing. Visit www.orb.uscourts.gov/video-hearings for connection
      information.

5.    A notice, if appropriate, must be prepared in accordance with Federal Rule of Bankruptcy Procedure
      (FRBP) 2002(c)(3) and must describe all acts enjoined by the plan that are not otherwise enjoined
      under the Bankruptcy Code. The notice must be separately filed and served with this order.

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6.   Complaints objecting to the debtor's full discharge pursuant to 11 U.S.C. §1141(d)(3) and FRBP
     4004(a) must be filed no later than the date fixed in paragraph 4.

7.   No later than 7 days after the "FILED" date, the plan proponent must serve this order, any notice
     prepared and filed under paragraph 5, the plan, disclosure statement, and a ballot, as provided in
     FRBP 3017(d). The plan proponent must complete and file the Certificate of Service below without
     any attachments.

8.   A Summary of the Ballots by Class (LBF 1181) and a Report of Administrative Expenses (LBF 1182)
     must be filed with the clerk no later than 3 business days before the hearing date in paragraph 4.
     The Summary must be served on any Creditors' Committee. The plan proponent must comply with
     the requirements in LBF 1181 regarding the ballots.
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                                        CERTIFICATE OF SERVICE

I certify that on ___________ all documents required by paragraph 7 were served on the U.S. Trustee,
debtor(s), any trustee, and their respective attorneys; all creditors and interested parties; the S.E.C. at the
address provided on the court's Internet site at https://www.orb.uscourts.gov; and any identified entity
subject to an injunction provided for in the plan against conduct not otherwise enjoined under the
Bankruptcy Code.



                                                      Signature


                                                      Name and Relation to Case




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